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EXHIBIT A

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION

Civil Action No. 01-CV-12257 PBS

THIS DOCUMENT RELATES TO Judge Patti B, Saris

ALL ACTIONS

DECLARATION OF JOSEPH ANGLAND IN SUPPORT OF APPLICATION FOR
ADMISSION PRO HAC VICE

Joseph Angland, an attorney with. the firm of White & Case LLP, 1155 Avenue of the
Americas, New York, NY 10036, hereby declares:

1, I am an attorney admitted to practice before the State Courts of New York, The
District of Columbia, The U.S. Tax Court, The U.S. Court of Federal Claims, The U.S. Supreme
Court, The U.S. Court of Appeals for the Second, D.C., Third, Federal and Seventh Circuits, The
U.S, District Court for the Southern District of New York, Eastern District of New York, D.C.,
Central District of Illinois and the Eastern District of Michigan.

2. 1 am currently licensed in good standing to practice law in each jurisdiction in
which I have been admitted;

3. There are no disciplinary proceédings pending against me as a member of the bar

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in any jurisdiction;
4, I am familiar with the Local Rules of the United States District Court for the
District of Massachusetts; and
5. I represent the defendant Sandoz Inc. in this action.

Signed under the pains and penalties of perjury of the laws of the State of Massachusetts,

GL Gogld

